Case 1:11-cv-00673-DDD-JDK Dodilment 1-2 Filed 04/28/11 Page 1 of 7 PagelD #: 7

MIXON & CARROLL

A BROPESSIONAL LAW CORPORATION

107 RISER STREET P.O. DRAWER 1619

HUCOLUMBIA, LOUISIANA 71418

‘ (318) 649-9284
JAMES E. MIXON , jmixon@mixoncarroll.com

FAMES L. CARROLL*™ / jearroll@mixoncarroli.com
BRAIN E. FRAZIER dA bfrazier@omixoncarroll.com
*ALSO ADMITTED IN TX, NM & NY | . Fax (318) 649-0277

March 31, 2011

Citizens Bank Certified, Retum Receipt Requested
301 E. Main Street . 7010-2780-0003-0424-2983
Kilgore, TX 75663

Re: Marvin W, Strozier, et.al.
Vs. No, 37,296
Kepco Energy, Inc.
Greetings:

Find enclosed a certified qopy of the Rule to Show Canse by Marvin W. Strogier, et.al. in
the above entitled proceedings. [|

This letter is being sent to You, together with the enclosures as service upon you pursuant
to Louisiana Revised Statute 13:3281 et.seq.

Very truly yours,

4 Cooper

TAC/ac

Enciosure

Ce: Marvin Strozier
RC Operating

400072896.1-TACY

 

 

 

 

 

 
Case 1:11-cv-00673-DDD-JDK Dobtiment 1-2 Filed 04/28/11 Page 2 of 7 PagelD #: 8
Oo Parish of LaSalle

jSiate of Louisiana

28th Judicial District Court

i pocket Waso7 AG

NW STROZIER, ET AL FILED
VS. NO 37296
PCO ENERGY INC

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. CLERK &°R
LASAIA F PARISH, Pe

LONG ARM NOTICE

 

TO: CITIZENS BANK

301 £. MAIN STREET
KILGORE, TEXAS 75663

 

 

YOU ARE HEREBY SUMMONED to comply with the demand contained in the RULE TO
SHOW CAUSE and ORDER thereon; 4 true and faithful copy whereof accompanies this Notice,
and to appear on:

 

MAY 16, 2011 at 9:30 AM

in the Twenty-Bighth District Court, in an for the Parish of LaSalle.

WITNESS the Hon. J. Christophe: Peters, Judge of said Court, at Jena, LaSalle Parish,
Louisiana, on the March 29, 2011.

HY va bi,

Deputy Clerk, Twen Eighth District Court

 

Requested by:

JAMES £. MIXON
P.O. DRAWER 1619
COLUMBIA, LA 71418

ATTESTA TRUE COPY

Dy. Clerk of Court'x’Ex-Officie Recorder
LaSalle Parish, LA

 

 

 

 

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Case 1:11-cv-00673-DDD-JDK | Dog ment 1-2
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!
STATE OF LOUISIANA PARISH OF LaSALLE
MARVIN W. STROZIER, ET.AU.
VS. NO. 37,296
i BY:
KEPCO ENERGY, INC. DEPUTY CLERK OF COURT
RULE TO SHOW CAUSE

 

NOW INTO COURT, thre

MALCOLM L. STROZIER and

“STROZIER”), who respectfully}

a bh undersigned counsel, comes MARVIN W. STROZIER,

i
RUTH E. STROZIER (hereinafter collectively referred to as

 

 

represent:
1,
- Named Defendants in Rule rare,
A. KEPCO ENERGY; INC, an Oklahoma corporation authorized to do and

doing business in thi

Texas, (heremafter ‘

Pursuant to Oil, Gas and Mu

Book 174, Page 465, records of LaS

CITIZENS BANK,

f,

u

tate of Louisiana (hereinafter “KEPCO”), and,

a Texas banking association, domiciled in Kilgore,
MIIZENS”)

 

2.
ral Lease dated January 23, 1990, and recorded in Conveyance

je Parish, Louisiana, STROZIER leased to James A. Stewart .

 

the NW/4 of SE/4 of Section 36, TS

Purseant to sundry assign

|
{, R2E, records of LaSalle Parish, Louisiana.

I
3.

mts, the working interest in the Oi, Gas and Mineral Lease

 

referred to in Paragraph 2 hereof, wais

This Lease was subsequently

4 acquired by KEPCO.
4.

extended and/or supplemented by an Oil, Gas and Mineral

 

Lease dated April 11, 2008, andrect

Louisiana for a period of 1 year.

Pursuant to a Right-of-Way

September 23, 2005, STROZLER ¢
{000723321 TACT

ed May 5, 2008, in the conveyance records of LaSalle Parish,

I:
5.
and Salt Water Disposal Agreement (“SWD Agreement”), dated

tered into an agreement with KEPCO which provided for the ©

 

 

 

 

 

Filed 64/28/11 Page 3 of 7PageiD # 9
Case 1:17°CV-60673-DDbD-JDK” Doc

at 10:00 am. on October 27, 2010.

nonexclusive use by KEPCO ofia

nt
- a.

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Page 4 of 7 PagélD #: 10

salt water well located on property owned by STROZIER,

described as the NW/4 of SE/4 of Section 36, T&N, R2E, LaSalle Parish, Louisiana, known as the

P Strozier SWD No. 2 well (La Office of Conservation Serial No. 212856),

6.

 

CITIZENS claims a securityinterest in Leases to KEPCO and wells operated by KEPCO.

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retakstbettes

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Pursuant to Judgment render ed in these proceedings on the 8” day of July, 201 0, Tadgment

 

was rendered in favor of STROZIE,

 

K and against KEPCO in and for the sem of $29,860.00, bemg

the cost of plugging and abandoning all wells formerly operated by KEPCO on the NW/4 of SEV4 of

Section 36, T8N, R2E, records of LaSalle Parish, Louisiana, as well as the costs of restoring the

premises thereof.

The Leases referred to in Pat

conditions prior to Fune 8, 2010.

The Judgment dated July 8,
and sale of any and ali equipment, n

NW/4 of SE/4 of Section 36, T8N, E

&.

raeTaphs 2 and 4 of this Rule expired pursuant to their terms and

§
i

9.
2010, provided for a issuance of writ of sequestration, seizure

Rachinery and other property owned by KEPCO located on the

HH, LaSalle Parish, Louisiana and recognized the Lessor’s lien

 

of STROZIER against said equipr

The Judgment dated July 8,

between STROZIER and KEPCO

ant ordering the same to be sold to satisfy STROZIER’S lien.
10.

i
2010, farther terminated the Salt Water Disposal Agreement

11.

 

 

tn accordance with the Judg

ment rendered on Aly 8, 2010, a notice of seizure was issued in

 

these proceedings providing for the

}
i
gale of any and all equipment, machinery and other property

owned by KEPCO located on the NW/4 of SE/4 of Section 36, T8N, R2E, LaSalle Parish, Louisiana

Notice of the seizure and sale

{00072932.1.TAC}

12.

was served upon KEPCO.

 

 

 

 
Case 1:11-cv-00673-DDD-JDK Docu

Notice of the issuance of

by certified mail dated October

 

By Sheriff's Sale conduc:

  

 

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13.

ie seizure and sale was provided to CITIZENS through its counsel

]
i
, 2010 and received October 19, 2010.

14.

red on Octeber 27, 2010, all equipment, machinery and other

property owned by KEPCO located on the NW/4 of SE/4 of Section 36, TEN, R2E, LaSatle Parish,

Louisiana was sold to Rock Cre

Petitioners have entered in
SE/4 of Section 36, TSN, R2E, La
the Salt Water Disposal well loca

Louisiana.

RC. Operating, LLC has}

ite

LLC.
[5.

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‘

an CHl and Gas Lease with R.C. Operating, LLC for the NWY/4 of
Salle Parish, Louisiana, as well as an agreement for operations of

don the NW/4 of SE/4 of Section 36, TEN, ROE, LaSalle Parish,

16,

bmitted to KEPCO and CITIZENS change of operator’s forms

 

to facilitate the change of the oper

the current operator of said well:

Operating, LLC., to-wit:

lL = WX ARC SUT:
Serial No. 222762

2 WXBRCSUTT:
Serial No. 21282

3. =P, STROZIER S$}
212856.

KEPCO and CITIZENS

with the wells identified in Paradz

 

 

ator for the following described wells requesting that KEPCO, as

s, consent to the change of the operator on said wells to RC.
i

|
STROZIER. No. 001, Louisiana Office of Conservation

STROZIBR No. 001, Louisiana Office of Conservation

AD No. 2, Louisiana Office of Conservation Serial No.

i

17,
ave refused to sign the change of operator forms in connection
aph 16 of this Rule despite amicable demand.

18.

 

Neither KEPCO nor CYT

which the wells identified in Par!

100072332.1.TAC}

ZENS have any further interest in the wells and/or leases upon

eraph 16 of this Rule are situated,

 

 

 

 

 
Case 1:11-cv-00673-DDD-JDK Document 1-2 Filed 04/28/11 Page 6 of 7 PageiD # 12

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i

i

: 19,
Petitioners are entitled td

ave a Rule issued herein directing KEPCO and CITIZENS to
show cause at a date, time and ace fixed by this Honorahie Court why an Order should not be
issued herein directing KEPCO bi a CITIZENS to consent to the change in the operator of the wells
referred to in Paragraph 16 of this Rule to R.C. Operating, LLC or in the altemative an Order

declaring that the consent of KEp co and CITIZENS to the request for change of operator of said

or

wells by R.C. Operating, LLC bt dispensed with.

WHEREFORE, MARVIN W. STROZIER, MALCOLM L. STROZIER and RUTH R.
STROZIER pray that a Rule be issued directing that KEPCO ENERGY, INC. and CITIZENS

BANK to show cause at a date, tinge and place fixed by this Honorable Court why they should not be

required to consent to the changd @foperator request of R.C. Operating, LLC in connection with the

wells referred to in Paragraph 16!df this Rule or in the alfemative why their consent to the change of

operators of said wells should not be dispensed with,

Petitioners further pray foriany and all other just and equitable relief.

Respectfully submitted,

MIXON & CARROLL, PLC
P.O. Drawer 1619
Columbia, LA 71418
(318) 649-9284 — Phone

; (318) 649-0277 — Fax
j imixon@dmixoncarroiLcom
carroli@mixoncerrol! com
frariér@mi

J
b. ixoncarroll.com

 

  
  

+% —

TAMES BE. MIXON, LSB# 10358
JAMES L. CARROLL, LSB# 28322
BRIAN £. FRAZIER, LSB# 30509

PLEASE SERVE:

KEPCO ENERGY, INC.
Through its Agent for Service af Process
Donald R. Wilson

1057 Courthouse Street :
Jena, LA 71342

Pursuant to Longarm Stetnte:
CITIZENS BANK

301 E. Main Street
Blgore, Texas 75663

100072332.4, TAC!

 

 

 
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| re 20H HAR 28 A il, 1S:
STATE OF LOUISIANA  BARISH OF LaSALLE 28TH INE:
GY. ELE . RECORDER
MARVIN W. STROZIER, ET.AL. FILED: WES AN TE PARISH, LA
VS. NO. 37,296 I
. BY:
KEPCO ENERGY, INC. DEPUTY CLERK OF COURT
ORDER
CONSIDERING the foregding Rule to Show Cause:
IT IS ORDERED, ADJUDGED AND DECREED that KEPCO ENERGY, INC. and
4
CITIZENS BANK show cause on'tive (ie day of Mbt’
it v

- why they should not be required to &

in connection with the following de

WX ARC SUTT: §

1.
Serial No, 222762,

2. WXBRCSUTT:§
Serial No, 212823,

3. P. STROZIER Swi

212856.

or in the alternative why their consel

with,

JENA, LOUISIANA, this #

 

; 201] at 9:00 o'clock a.m.,

 

nsent to the change of operator request of B.C. Operating, LLC
cribed wells, to-wit:
PROZIBR No. 001, Louisiana Office of Conservation

EROZIER No. 001, Louisiana Office of Conservation

INo. 2, Louisiana Office of Conservation Serial No,

to the change of operator of said wells should not be dispensed

(i day of Waswcl,

 

 

 

* 190072332.4.TAC}

é , 2011.
ACL Zh
iA JUSGE
J, Ghristopher Peters
! ATIEST ATRUE cory
Dy. Clerk ofcoe Ce Recorder

 

 

 

 

 

 

 
